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17                                UNITED STATES DISTRICT COURT
18                             NORTHERN DISTRICT OF CALIFORNIA
19                                        OAKLAND DIVISION
20    EPIC GAMES, INC.                               Case No. 4:20-cv-05640-YGR-TSH
21         Plaintiff, Counter-defendant              APPLE INC.’S STATEMENT IN SUPPORT
22    v.                                             OF ADMINISTRATIVE MOTION TO SEAL

23    APPLE INC.,                                    The Honorable Thomas S. Hixson

24         Defendant, Counterclaimant
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1            Pursuant to Federal Rule of Civil Procedure 26(c) and Local Rule 79-5, Apple Inc. (“Apple”)

2    submits this statement in support of Epic Games, Inc.’s Administrative Motion to Consider Whether

3    Another Party’s Material Should Be Sealed Pursuant to Civil Local Rule 79-5 (Dkt. 1376) (“Epic’s

4    Motion”). Apple respectfully requests that the Court partially seal Exhibit A to Epic’s Motion, because

5    it contains information sealable under controlling law and Local Rule 79-5. Exhibit A contains excerpts

6    from Apple’s privilege log prepared for the Special Masters conducting evaluation of the privilege claims

7    stemming from Apple’s re-review. The privilege log entries are required to be filed under the terms of

8    the Joint Stipulation and Order Approving Privilege Re-Review Protocol (Dkt. 1092) (the “Protocol”),

9    but contain personally identifiable information in the form of email addresses of Apple employees.

10          Apple accordingly moves to seal portions of Exhibit A containing sealable information. Apple’s

11   proposed redactions of Exhibit A are indicated in the redacted version filed with this statement and

12   itemized in the concurrently filed Declaration of Mark A. Perry (the “Perry Declaration”).

13                                            LEGAL STANDARD

14          “The court may, for good cause, issue an order to protect a party or person from annoyance,

15   embarrassment, oppression, or undue burden or expense,” including preventing the disclosure of

16   information. See Fed. R. Civ. P. 26(c). The Court has “broad latitude” “to prevent disclosure of materials

17   for many types of information, including, but not limited to, trade secrets or other confidential research,

18   development, or confidential information.” Phillips v. Gen. Motors Corp., 307 F.3d 1206, 1211 (9th

19   Cir. 2002) (emphasis in original); see also Kamakana v. City and Cnty. of Honolulu, 447 F.3d 1172,

20   1178 (9th Cir. 2006) (compelling circumstances exist to seal potential release of trade secrets) (citing

21   Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978)); PQ Labs, Inc. v. Qi, 2014 WL 4617216,

22   at *1 (N.D. Cal. Sept. 15, 2014) (granting multiple motions to seal where publication would lead to the

23   disclosure of trade secrets); Apple Inc. v. Rivos, Inc., 2024 WL 1204115, at *1 (N.D. Cal. Mar. 21, 2024)

24   (granting request to seal “internal product codenames” and noting that a prior request for the same had

25   also been granted). Courts often find good cause exists to seal personally identifiable information. See,

26   e.g., Snapkeys, Ltd. v. Google LLC, 2021 WL1951250, at *3 (N.D. Cal. May 14, 2021) (granting motion
27   to file under seal personally identifiable information, including email addresses and telephone numbers

28   of current and former employees).


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1           Although a party must show compelling circumstances to seal information appended to

2    dispositive motions, the standard for non-dispositive motions is simply “good cause.” In re Anthem, Inc.

3    Data Breach Litig., 2018 WL 3067783, at *2 (N.D. Cal. Mar. 16, 2018); Rembrandt Diagnostics, LP v.

4    Innovacon, Inc., 2018 WL 1001097, at *1 (S.D. Cal. Feb. 21, 2018); see DNA Genotek Inc. v. Spectrum

5    Sols., L.L.C., 2023 WL 4335734, at *2 (S.D. Cal. May 10, 2023). In general, requests to seal information

6    should be narrowly tailored “to remove from public view only the material that is protected.” Ervine v.

7    Warden, 214 F. Supp. 3d 917, 919 (E.D. Cal. 2016); Vineyard House, LLC v. Constellation Brands U.S.

8    Ops., Inc., 619 F. Supp. 3d 970, 972 n.2 (N.D. Cal. 2021) (Gonzalez Rogers, J.) (granting a motion to

9    seal “because the request is narrowly tailored and only includes confidential information”).

10                                               DISCUSSION

11          Apple seeks to seal personally identifiable information in the exhibit to Epic’s Motion. See Perry

12   Decl. ¶ 5.

13          Apple’s administrative motion to seal is subject to the “good cause” standard because it concerns

14   non-dispositive objections related to discovery. See, e.g., Kamakana, 447 F.3d at 1179 (“[T]he public

15   has less of a need for access to court records attached only to non-dispositive motions because those

16   documents are often unrelated, or only tangentially related, to the underlying cause of action.”); Lee v.

17   Great Am. Life Ins. Co., 2023 WL 8126850, at *2 (C.D. Cal. Nov. 13, 2023) (“Matters concerning

18   discovery generally are considered nondispositive of the litigation” (citation omitted)); see also In re

19   Anthem, Inc. Data Breach Litig., 2018 WL 3067783, at *2; Rembrandt Diagnostics, LP, 2018

20   WL1001097, at *1; Al Otro Lado, Inc. v. Wolf, 2020 WL 5422784, at *4 (S.D. Cal. Sept. 10, 2020).

21          Apple’s sealing request meets the good cause standard here. Lamartina v. VMware, Inc., 2024

22   WL 3049450, at *2 (N.D. Cal. June 17, 2024) (good cause to seal internal email communications). Apple

23   operates in an intensely competitive environment, and thus has taken extensive measures to protect the

24   confidentiality of its information. See Perry Decl. ¶ 3. Courts in this district have found not only good

25   cause, but compelling reasons exist to seal personally identifiable information, found in Exhibit A. See

26   Snapkeys, 2021 WL 1951250, at *3 (granting motion to file under seal personally identifiable
27   information, including email addresses and telephone numbers of current and former employees); see

28   also UnifySCC v. Cody, 2023 WL 7170265, at *1 (N.D. Cal. Oct. 30, 2023) (finding compelling reasons


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1    to seal personally identifying information of employees, including names, addresses, phone numbers,

2    and email addresses).

3           Apple has narrowly tailored its sealing request to include only the information necessary to

4    protect its personally identifiable information. See Krommenhock v. Post Foods, LLC, 2020 WL

5    2322993, at *3 (N.D. Cal. May 11, 2020) (granting motion to seal “limited” information); see also

6    Phillips, 307 F.3d at 1211; Williams v. Apple Inc., 2021 WL 2476916, at *2–3 (N.D. Cal. June 17, 2021)

7    (noting Apple’s narrowed sealing requests with “tailored redactions”); Dkt. No. 643 at 3 (finding Apple’s

8    proposed redactions appropriate for an exhibit when redactions were “narrowly tailored” to “sensitive

9    and confidential information”). Apple has only partially redacted limited information in the exhibit. See

10   Perry Decl. ¶ 5.

11          For the foregoing reasons, there is good cause that warrants partially sealing Exhibit A to Epic’s

12   Motion.

13                                                  CONCLUSION

14          Apple respectfully requests that the Court seal the information identified in the accompanying

15   declaration.

16

17
     Dated: March 28, 2025                                  Respectfully submitted,
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19                                                          By: /s/ Mark A. Perry
                                                            Mark A. Perry
20                                                          WEIL, GOTSHAL & MANGES LLP
21                                                          Attorney for Apple Inc.
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